













Opinion issued June 8, 2006








In The
Court of Appeals
For The
First District of Texas
____________

NO. 01-06-00258-CV
____________

WATERMAN AIR CONDITIONING AND HEATING, INC., Appellant

V.

AGAPE ASHTON/WOODSTOCK, INC. D/B/A ASHTON PLACE
APARTMENTS, Appellee




On Appeal from the County Court at Law No. 2
Galveston County, Texas
Trial Court Cause No. 50,588




MEMORANDUM OPINION
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Appellant has filed a motion to dismiss its appeal.  More than 10 days have
elapsed, and no objection has been filed.  No opinion has issued.  Accordingly, the
motion is granted, and the appeal is dismissed.  Tex. R. App. P. 42.1(a)(1).
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;All other pending motions in this appeal are overruled as moot.  The Clerk is
directed to issue mandate within 10 days of the date of this opinion.  Tex. R. App. P.
18.1.
PER CURIAM
Panel consists of Chief Justice Radack and Justices Taft and Nuchia.


